          Case 18-20971-CMB       Doc 226    Filed 12/18/20 MEMO
                                             PROCEEDING      Entered 12/18/20 07:25:02         Desc Main
                                            Document     Page 1 of 1

Date: 12/17/2020 02:30 pm
 In re:   Linda C. Parker


                                                        Bankruptcy No. 18-20971-CMB
                                                        Chapter: 11 (Not a Small Business)
                                                        Doc. # 186

Appearances Via ZOOM: David Valencik, Esq.
                      Maria Miksich, Esq.
                     Jill Locnikar, Esq.

Nature of Proceeding: #186 ZOOM HEARING - Continued Motion for Final Decree

Additional Pleadings: #187 Notice of Hearing
                      #201 Status Report
                      #202 Status Report
                      #221 Proceeding Memo dated 10/29/2020


Judge's Notes:
 ͲValencik:ChecksentforDecemberpaymenttoPNCandsoshouldbecurrent.Behindonepaymentto 
 IRS.Owe2019taxreturnandthatwillbedonenextweek.PaymentwillbemadetoIRSnextweek.
 ͲLocnikar:Nottryingtostopentryoffinaldecreebutwanttomakesurethatcontinuewithpaymentsand 
 canhandlewhatever2019returnshows.
 ͲFindthatsubstantiallyconsummatedandappropriatetoenterfinaldecree.
 OUTCOME:MotionGranted.Orderentered.


                                                        Carlota Böhm
                                                        Chief U.S. Bankruptcy Judge
                FILED
                12/17/20 4:36 pm
                CLERK
                U.S. BANKRUPTCY
                COURT - :'3$
